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                         UNITED STATES DISTRICT COURT
                                     District of Maine

                                      Witness List
Case Name: USA v. Alexis Boyd                                          Proceeding Type:
Case No.: 2:19-cr-175-NT                                               Suppression Hearing

Presiding Judge: Judge Torresen          Government's Attorney:        Defendant’s Attorney:
Courtroom Deputy: Stacey Graf            Michael Conley, AUSA          Daphne Hallett Donahue, Esq.
Court Reporter: Lori Dunbar              Meghan Connelly, AUSA         Grainne Dunne, Esq.

  Gvt          Dft         Date                             WITNESS
   X                                             MSP Trooper/Corporal John Darcy
